 

 

UNITED STATES DISTRICT CpURT

EASTERN DISTRICT oF wlscoNSl§§ g ~*FWB§§§L.

   
  

 

JERPAUL D. SPENCER,

vi plaintiff, _ Y‘Wbb_e_m%¢é

Case
cITY oF MleAUI<EE PoLlcE v JONW CSF_RK
DEPARTMENT, ED FLYNN, MICHAEL h
' ' 1 -0-066°
vAGNINI, JAcoB KNIGHT, JEFFREY u_ 6 f-
‘KLINE, PAUL MARTINEZ, cREGoRY ` l '
KUSPA, JESSE BUSSHARDT, MICHAEL ' ‘

1 _ VALUCH, and KEiTH GARLAND,
Defendants.

 

CoMPLAINT UNDER 42 USC § 1983

 

NOW COMES, The Plaintiff, Jerpaul b. Spencer, pro se, who
files this complaint for damages under 42 USC § 1983, alleging
a pattern of illegal searches and seizures, as well as unconsti-
tutional policies that lead to illegal searches and seizures.
In support of this complaint, Plaintiff alleges as follows:

JnRISDICTION & VENUE

1. This Court has jurisdiction over the Plaintiff's claims

 

of violation of his rights under the U. S. Constitution, pursuant
'to 28 USC §§ 1331(1) and 1343.

2.'This District is the proper venue as`a substantial part

 

of the events giving rise to the claims herein occurred in this
District.
PARTIES

3. Plaintiff, Jerpaul D. Spencer, is currently a state

 

Prisoner confined at Green Bay Correctional Institution, 2833
Riverside Drive, P.O. Box'19033, Green Bay, Wisconsin 54307.
However, at times relevant hereto, Plaintiff resided in the City
of Milwaukee, Wisconsin. `

41 Defendant, City of Milwaukee Police Department, is a
law enforcement agency with jurisdiction in the City of Milwaukee,`
vested with the duty to protect and serve the citizens of Mil-

waukee and to act in accordance with the United States Constitutioni

Case 2:16-cV-00662-PP Filed 06/06/16 Pag_e 1 of 8 Document 1

 

 

 

5. Defendant, Ed Flynn, is the City of Milwaukee Police
Department ("MPD") Chief of Police. As such, he is responsible
.for the administration and operation of the entire MPD, including
'maintaining and implementing policies that ensure that the officers
of the MPD act in'a constitutionally acceptable manner.

6. Defendants Michael Vagnini, Jacob Knight, Jeffrey Kline,
Paul’Martinez, Gregory Kuspa, Jesse Busshardty Michael Valuch.
jand Keith Garland were, at times relevant heretoj employed by
the MPD as sworn police officers. As such, they had the responsi-
bility of policing within their jurisdiction in a constitutionally
acceptable manner. ` 4 _ _

7. By virtue of their authority as sworn law enforcement
officials, governed by state and federal law, each defendant
was acting under color of state law at times relevant hereto.

ALLEGATIONS OF FACT 7
v 8. Plaintiff herby incorporates by reference in their entirey,
all of the allegations set forth in HH1-7 herein, fully and compl-
etely; as if set forth again verbatim, except insofar as not‘ §

 

applicable. g " _ .

9. Between May and July of 2011, Plaintiff was illegally
'Stopped, searched, and, on several occasions, Sexually assaulted,
by various MPD officials who did not have probable cause or _
reasonable suspicion to support any'search or seizure. Plaintiff
estimates that he was stopped on 10 to 15 separate occasions.
nThese illegal stops and searches were sanctioned, approved, and
encouraged by MPD policy and custom, as well as Defendant Flynn
himself. _ ` -

' 10. On June 25, 2011, Plaintiff got out of'a vehicle after
arriving at his grandmother's house in the 3500 block of N. 23rd
'St. Plaintiff was immediately approached by at least 5 MPD officers;
including Defendants Vagnini, Knight, Kline, Martinez and Kuspa;

11. Plaintiff was in the process of ascending the outside
stairs when Vagnini shouted Plaintiff's name followed by "lf n
you go in that house We'll kick the door in and say you ran in
_there." _ _ _ ` "

12. Plaintiff stopped and Vagnini, Knight, Martinez, Kline

and Kuspa swarmed Plaintiff. Vagnini grabbed Plaintiffis arm

`Case 2:16-cV-00662-`PP Fi|ee|Z}6/06/16 PageZOfE§ Documentl

 

and directed him to the back of the car. %agnini forcefully slammed
`Plaintiff against the car and proceeded to place him in handcuffs.
Vagnini began a "pat search" of Plaintiff while the other officers
canvassed the vicinity.

13. At some point during the "pat-search" Vagnini placed
his bare hand down the back of Plaintiff's waistband, running
his hand between Plaintiff's buttocks. Vagnini then slid his
- hand to the front of Plaintiff's waist and proceeded to squeeze
Plaintiff's genitals. Plaintiff, who was shocked and appalled,
asked Vagnini, "What the hell are you doing?" Vagnini shoved
Plaintiff against the car harder and yelled at Plaintiff to not
_resist. ' t l

14. Defendant Knight appeared and grabbed Plaintiff's right
arm, and Vagnini carried on with a pat-down of Plaintiff's legs.l
No contraband was discovered in the so-called "pat search," not
the search of the vicinity.

15 Plaintiff was taken to jail, but was released after
five days when no charges were filed.1

16. Defendants Vagnini, Knight, Kline, Martinez and Kuspa
were all aware that Plaintiff ahd not committed any act that
warranted the search or seizure of his person. In addition,
Defendant Knight had observed thesexual assault of Plaintiff
by Vagnini, and had a reasonable opportunity and duty to intervene,
but failed to do so. ` l ~

17. Sometime during June or July, 2011, Plaintiff was driving
southbound on N. 23rd St. with his cousin. Plaintiff stoppedl
at a 4- -way stop at the intersection of N. 23rd St. and Keefe
Ave. Plaintiff saw 3 MPD squad cars in tandem, stopped at the
STOP sign on W. Keefe Ave. facing Westbound.

18. As Plaintiff waited for the first squad car to proceed
through the intersection, as it had the right-of-way, all 3 squad
cars aggressively boxed-in Plaintiff's vehicle, nearly hitting
Plaintiff's vehicle, This caused Plaintiff to be afraid for his
safety} l

19. Defendant Vagnini was in one of the cars, and got out
and began yelling at Plaintiff to turn the car off and get out.

20. Plaintiff complied and was directed to the back of the
_vehicle

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Case 2:16-cV-00662-PP Filed 06/06/16 Page 3 of 8 Document 1

21. While the other officers began searching the vehicle,
.Vagnini began a "pat search" of Plaintiff. When Vagnini checked
Plaintiff's waistband, Vagnini put his bare hand down the back
of Plaintiff's pants. Vagnini slid his hand between Plaintiff's
buttocks. ' _

22. Plaintiff told Vagnini to be "gone with that sh--,"
indicating to Vagnini to stop the inappropriate touching. Vagnini
told Plaintiff to shut up unless "you want to go to jail. "

4 23. Vagnini completed a pat- -down of Plaintiff' s legs and
told Plaintiff to lean against the car, and Plaintiff complied.
The officers concluded their search of the vehicle, having found
no contraband or evidence of a crime. Plaintiff and his cousin
were then told that they were free to go. l

24. Defendant Vagnini did not have probable cause or reas-
'onable suspicion that would warrant the search and seizure of
Plaintiff or the vehicle he was lawfully operating.

25» On July 4, 2011, Plaintiff was at his grandmother's n '
house on N. 23rd St., celebrating Independence Day. At approximately
6:55 p.m., Plaintiff began walking north on N. 23rd St. He was
soon approached by several MPD officers, including Defendants,
Valuch and Garland. Valuch told Plaintiff to "stop." Plaintiff
complied, fearing that he would be shot or beaten.

26. Valuch began a ¢pat search" of Plaintiff. As Valuch
checked Plaintiff's waistband, he partially pulled down Plaintiff's
shorts and slid his hand-back and forth between Plaintiff's-butt-
ocks. ,
27. Plaintiff told Valuch to stop, but Valuch responded
by telling Plaintiff to shut up and quit "resisting." Valuch
told Plaintiff to open his mouth, and Plaintiff promptly did
so. ' _ :'

28. Valuch immediately yelled to the other officers that_
Plaintiff had swallowed a baggy of narcotics. Plaintiff did not
swallow anything, did not have anything in his mouth, nor was
he otherwise in possession of any narcotics or other contraband.
Plaintiff told Valuch and his cronies several times that he had
not swallowed anything.1 ' l

29. Defendant s Valuch and Garland arrested Plaintiff and
brought him to St. Mary' s Hospitalshortly thereafter, where they

Case 2:16-0\/_-00662'-PP Filed[UB/O€/l€ ~ Page 4 of 8 Document 1

 

handcuffed Plaintiff to a hospital bed in the emergency department.

30. Valuch and Garland told medical personnel that Plaintiff
had swallowed a baggy of narcotics, which Plaintiff vehemently
denied and disputed. Based on Valuch and Garland's calumnious
statements, medical personnel told Plaintiff he needed to drink
up to 2 gallons of'a powerful laxative solution typically_admini~
stered to pre-operation gastrointestinal patients that clears~
out the entire Gl tract. Valuch, Garland and medical personnel
told Plaintiff he would have to drink the solution until he defe-
cated out a baggy of narcotics. _

31. Plaintiff again stated that he had not ingested any
~ drugs and wished to refuse treatment, that he did not want to
drink the solution. Valuch, Garland, and medical personnel told
Plaintiff that if he refused, they would restrain him and force
a tube through his nostril and down into his stomach in order
_to pour the solution into Plaintiff' s stomach.

32. Fearing this outcome, Plaintiff asked if he drank some
of the solution, defecated once and no drugs were found in his
stool, would he be able to go home. Valuch, Garland and medical
personnel agreed to this. 4 .

_ 33. After drinking about 4 large cups of the solution, which
caused him severe stomach and intestinal pain, over the course
of 2-3 hours, and having defecated several times, Plaintiff indicated
that he would no longer drink any of the solution, as no drugs
were found. He again firmly stated that he had not swallowed
~anything and that he wished to refuse all medical treatment.

34. Consequently, Valuch and Garland told medical personnel
that they wanted to force Plaintiff to ingest the solution, to
which medical personnel agreed.

35. Valuch and Garland proceeded to forcefully restrain
Plaintiff, causing him physical pain, as medical personnel inserted
_a tube into Plaintiff's nose and down into his stomach, causing
more severe pain and emotional suffering. The solution was poured
into the tube and directly into Plaintiff's stomach every hour
for several hours.

36. Plaintiff had painful, liquid bowel movements about
every 15 minutes, which also caused Plaintiff's anal area to

become raw and painful, taking a week to heal. No narcotics or

Case 2:16-cV¢00662§PP Filed_g§/O€/l€ Page50f8 Documentl '

 

other foreign bodies were present in any of Plaintiff's stool.

37. In the morning, Valuch and Garland were relieved by
another MPD officer. When this officer learned the circumstances
of Plaintiff's arrest and the forced "treatment," she told medical
personnel that any further forced treatment was inappropriate l
and Plaintiff could be discharged from the hospital. Plaintiff
was transported to jail shortly thereafter, but was released
several days later, after no charges were filed.

38. Valuch and Garland had no probable cause or reasonable '
suspicion that would justify a warrantless search and seizure.

_In addition, both Valuch and Garland were aware that Plaintiff
had not actuall ingested any drugs or anything else, and knew'
that Plaintiff would be subjected to unnecessary and painful
medical treatment. l n ' 4 v

39. In addition to the above allegations, Defendants Buss-
hardt and Vagnini falsified information regarding the June 25,
2011 arrest. They did so with the intent to falsely accuse Plaintiff
of a crime in order to arrest and illegally search him.

40. As a result of the repeated harassment, frivolous arrests,
sexual assaults, and the unconstitutional incarceration that `
followed, Plaintiff continues to suffer from severe emotional>
distress, including depression, anxiety, paranoia and debilitating
vfear of law enforcement officers. _

41. Furthermore, these illegal searches and seizures were
directed to occur due to long-standing MPD policy, and even though
each defendant was aware that they were repeatedly violating
the constitutional rights of innocent people, they continued
`their course of corruption. Additionally, Defendant Flynn had
received numerous complaints of police misconduct and illegal
searches, seizures and sexual assaults being committed by his
officers, but he deliberately failed to investigate them, thereby
'leading to more violations. 4

, _ LEGAL cLAIMs ,
'42. Defendants City of Milwaukee Police Department and Ed
Flynn violated Plaintiff's constitutional rights by having a
policy directing MPD officers to engage in illegal arrests and

-searches, which lead to the repeated violation of Plaintiff's

Case‘2:16-cV-00662-PP Fi|e_€f>GG/O€/l€ Page60f8 Documentl

 

constitutional rights.» .

43. Defendants Vagnini and Busshardt put together a false
set of alleged facts in their incident reports to cover up the
fact that they had illegally searched and seized Plaintiff on
June 25, 2011 in violation of Plaintiff's constitutional rights.

44. Defendants Vagnini, Knight, Kline,_Martinez and Kuspa
violated Plaintiff's constitutional rights by conspiring and '
acting to illegally search and seize Blaintiff without probable
cause or reasonable suspicion. l .

'45. Vagnini violated Plaintiff's constitutional rights by
using excessive force on Plaintiff on June 25, 2011 by slamming
Plaintiff against a car with undue force and for no valid reason.

7 46. Defendant Vagnini violated Plaintiff's constitutional
rights by sexually assaulting Plaintiff during a so-called "
search" on June 25, 2011, when he fondled Flaintiff's genital

and anal areas.

pat

47. Defendant Knight violated Plaintiff's constitutional
rights when he failed to intervene or attempt to stop Vagninils
illegal and sexually inappropriate qsearch" of Plaintiff. Knight
simply watched Vagnini violating Plaintiff. 4

48. Defendant Vagnini violated Plaintiff's constitutional
`_rights by searching and seizing Plaintiff in June or July of
l2011 near N. 23rd St. and Keefe Ave. Vagnini also violated Plain-
tiff's constitutional rights by sexually assaulting him. Vagnini
acted knowing that he lacked probable cause or reasonable suspicion
to search or seize Plaintiff.

491 Defendant Valuch and Garland violated Plaintiff's consti-
tutional-rights on July 4, 2011 when they searched and seized _
Plaintiff without probable cause or reasonable suspicion. Valuch
violated Plaintiff's constitutional rights by sexually assaulting'
him during the illegal search. l

50. Defendants. Valuch and Garland violated Plaintiff's
constitutional rights when they knowingly told medical personnel
that Plaintiff had ingested a baggy of narcotics when he had
not, in fact, done so. They knew that this would lead to unnecessary
and painful treatment of Plaintiff. They also violated Plaintiff's
constitutional rights when they forced unwanted medical treatment
upon Plaintiff. v '

Case 2:16-cV-00662-PP Fi|egp§/O€/l€ Page70f8 Documentl

 

PRAYER FOR RELIEF

 

_ JURY'TRIAL DEMAND

Plaintiff hereby demands a trial by a jury of his peers

to adjudicate this lawsuit.
7 ' DAMAGES

a. Plaintiff seeks an award of compensatory damages and
punitive damages against each defendant, the amount of which
to be determined by the_trier-of-fact.

b. Plaintiff seeks compensation for fees; costs and attorneyl
fees as applicable. `

c. Plaintiff seeks any further relief that the Court may
-deem just and equitable.' n § `
' SWORN DECLARATION AS TO FACTS

l; Jerpaul D. Spencer, hereby swear under penalty of perjury

 

that the foregoing complaint and allegations herein are true

and correct@ . . , _ ,
_ Dated thnsg“dday of g§%ge , 2016.

Respectfully Submitted:

M/M/@Hw '

Jerpaul D. Spencer

Green Bay Corr. Inst.
P.O.rBox 19033 _
Green Bay, WI 54307

Case 2:16-cV-00662-PP Fi|egé)_€/O€/l€ Page80f8 Documentl

